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E-FILED; Montgomery Circuit Court

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IN THE CIRCUIT COURT
FOR MONTGOMERY COUNTY, MARYLAND

TONY BLEVINS,
22748 AUTUMN BREEZE AVENUE : Case No: C-15-CV-23-004270
CLARKSBURG, MARYLAND 22748, :
: JUDGE:
Plaintiff, : CIVIL ACTION — LAW
VS. JURY TRIAL DEMANDED
JOLENE READ,
146 HUNT HILL ROAD
RINDGE, NEW HAMPSHIRE 03461,
Defendant.
COMPLAINT

AND NOW comes Plaintiff, Tony Blevins (“Mr. Blevins”), by and through undersigned
counsel, and avers the following:

INTRODUCTION

hi This lawsuit seeks remedies and relief against Defendant Jolene Read (“Ms.
Read”) for defamation arising under the laws of the State of Maryland. As set forth in detail
below, Ms. Read made defamatory statements by falsely accusing Mr. Blevins of sexual assault.
2. Mr. Blevins, through this action for defamation, seeks to uphold the laws of

Maryland, and respectfully asks this Court for:

a. For compensatory damages in excess of $43,518.26;
b. For exemplary damages as deemed appropriate;
©. For such other attorneys’ fees, costs, and interest as allowed by law; and

d. For such other and additional relief as deemed just and proper.
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PARTIES

Bh Plaintiff, Tony Blevins, currently resides at 22748 Autumn Breeze Avenue,

Clarksburg, Maryland 20871.

4, Defendant, Jolene Read, currently resides at 146 Hunt Hill Road, Rindge, New

Hampshire 03461.

JURISDICTION AND VENUE

5, This Court has jurisdiction over Plaintiffs claims against Defendant pursuant to
Maryland Code Annotated, Courts & Judicial Proceedings (“MD Code Ann., Cts. & Jud. Proc.”)
§ 1-501.

6. The Court may also exercise personal jurisdiction over Defendant pursuant to MD
Code Ann., Cts. & Jud. Proc. § 6-103(b)(1) and (3) because Defendant performed work in
Maryland and caused the tortious injury in Maryland.

7. Venue is proper in this Court pursuant to MD Code Ann., Cts. & Jud. Proc. § 6-
201 because Defendant regularly engages in business in Maryland.

BACKGROUND

8. From June 2007 through March 2023, Mr. Blevins was a Professional Services
Manager at MainSpring, Inc. (“MainSpring”), an IT strategy and consulting firm located in
Frederick, Maryland.

a At MainSpring, Mr. Blevins was responsible for managing all aspects of the
Managed Services Division and personnel dedicated to delivering technology solutions for client
companies.

10. From November 2021 through June 2023, Ms. Read was employed by

MainSpring as a Virtual Chief Information Officer.
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ll. On or about July 21, 2022, Mr. Blevins and Ms. Read connected over Microsoft
Teams for a work-related call. Ms. Read advised Mr. Blevins that she was in Virginia and
Maryland for client meetings and would check into a hotel in Frederick, Maryland, that
afternoon. Shen then asked Mr. Blevins if he was free for dinner after work. Mr. Blevins said
that he was free and they discussed options for restaurants they could go to. Mr. Blevins
ultimately suggested that they go to Mariachi Restaurant in Frederick because they both liked
tacos.

12. At approximately 6:00 p.m., on or about July 21, 2022, Mr. Blevins picked Ms.
Read up from the hotel where she was staying, and they went to Mariachi Restaurant together.

13. Over dinner, Mr. Blevins and Ms. Read had a few drinks, talked, and began to
flirt. Ms. Read said that she wanted to reach out to Mr. Blevins earlier in the week but did not
know if he was interested in her and joked about him reporting her to the human resources
department of MainSpring for flirting with him. They both laughed and Mr. Blevins mentioned
that she had nothing to worry about as the conversation continued.

14. At approximately 9:00 p.m., Mr. Blevins drove Ms. Read back to her hotel, at
which point Ms. Read invited Mr. Blevins in for a beer. Mr. Blevins accepted her invitation and
he accompanied Ms. Read to her hotel room, where they continued to talk and started to kiss.
Mr. Blevins and Ms. Read continued to kiss and take off their shirts on Ms. Read’s hotel bed. At
approximately 10:30 p.m., Mr. Blevins decided that it would be best to go home and think about
their decisions before anything else happens between them. Ms. Read agreed. Ms. Read then
escorted Mr. Blevins on his way out, where they continued to kiss and talk for several more

minutes before Mr. Blevins left.
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15. The following day, on or about July 22, 2022, Mr. Blevins and Ms. Read were
scheduled to attend a company meeting together in the morning. Before and during the meeting,
they smiled at each other due to what happened the night prior and Ms. Read made a comment to
Mr. Blevins that it would be hard to get through the day before they had the opportunity meet
again alone in the evening.

16. After work, at approximately 5:00 p.m., Mr. Blevins’ and Ms. Read’s team at
MainSpring went to a bar together where they had a couple of drinks before attending an axe
throwing event at Stumpy’s Hatchet House in Frederick, Maryland. Prior to that event, Ms.
Read had to return to the office to retrieve her bag and Mr. Blevins accompanied her. In the
office, Ms. Read kissed Mr. Blevins. Mr. Blevins pointed out that other colleagues were still
working and that there were cameras in the office. As they left, Ms. Read asked Mr. Blevins if
she could ride to Stumpy’s Hatchet House in Mr. Blevins’ vehicle. They discussed that that
would allow them to leave together after the event unquestioned.

17. Ms. Read and Mr. Blevins spent the entire time at the event together. After
approximately two hours, the event ended. Mr. Blevins, Ms. Read, and their co-workers left the
establishment and continued to talk outside for several minutes before their co-worker, Ashley
Simmons’ surprised Ms. Read and Mr. Blevins by offering to drive Ms. Read back to her hotel
room. Having no reason to decline, Ms. Read accepted Ms. Simmons’ offer. As she entered Ms.
Simmons’ vehicle, Ms. Read signaled Mr. Blevins to call her with hand gestures,

18. Mr. Blevins went to his vehicle and drove to a McDonald’s parking lot near Ms.
Read’s hotel where he waited. While he was waiting, he and Ms. Read exchanged multiple text
messages. Ms. Read eventually informed Mr. Blevins by text message that Ms. Simmons had

left and that Mr. Blevins could stop by.
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19, Mr. Blevins returned to Ms. Read’s hotel. There, Mr. Blevins and Ms. Read
engaged in conversation, and eventually consensual sexual intercourse. When it was time for
Mr. Blevins to leave, Ms. Read walked Mr. Blevins out to his vehicle. Ms. Read waved to Mr.
Blevins who then exited the hotel parking lot.

20. On or about July 23, 2022, Ms. Read returned to New Hampshire.

Zl In or around late July 2022, Mr. Blevins and Ms. Read continued to deepen their
relationship through conversations on Microsoft Team chats and in video calls.

22. Further, Mr. Blevins and Ms. Read began to engage in conversation via messages
on an Apple iCloud Notes application to keep messages secret to prevent Ms. Read’s fiancé and
Mr. Blevins’ wife from learning about the relationship between Mr. Blevins and Ms. Read. This
application would allow them to share a note where they could add messages to each other.

23. Mr. Blevins and Ms. Read also spoke by phone on occasion.

24, In or around the same time in late July, the two decided they wanted to see each
other again and decided to meet in Boston on or about August 26, 2022. This was a weekend
that Ms. Read’s fiancé would be out of town and her son would be at his father’s house. Ms.
Read told her fiancé that she needed to attend a one-day workshop in Boston for work and Mr.
Blevins told his wife that he needed to fly to Boston for a small project for a client.

23. On or about July 27, 2022, Mr. Blevins requested paid time off from MainSpring
to ensure that he could travel to Boston to meet Ms, Read.

26. From about August 6 until 16, 2022, Mr. Blevins was on vacation out of the
country. On or about August 17, 2022, Mr. Blevins returned to the office and received a text

message from Ms. Read stating, “good morning! welcome back! ... How was your time off?”
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27. On or about August 18, 2022, Mr. Blevins confirmed Ms. Read’s availability on
August 26, and booked flight reservations with Jet Blue. Ms. Read booked the hotel room.

28. After booking the flights, Mr. Blevins messaged Ms. Read on Microsoft Teams
stating “Booked. We can talk later.” In response, Ms. Read responded with a “heart” emoji.

29, On or around 9:00 a.m., on August 26, 2022, Mr. Blevins arrived in Boston,
where Ms. Read was waiting with her vehicle to pick Mr. Blevins up.

30. Ms. Read then drove to a hotel room she had reserved and checked into the room,
as it was under her name.

31. Mr. Blevins and Ms. Read engaged in talking and kissing for nearly an hour
before proceeding with consensual sexual intercourse. The two discussed how they could
increase the frequency of visiting one another. Mr. Blevins and Ms. Read shared a meal and then
Ms. Read drove Mr. Blevins back to the airport at approximately 5:45 p.m. They sat in the
vehicle together, holding hands for approximately 30 minutes before Mr. Blevins left.

32. On or about August 30, 2022, Ms. Read explained to Mr. Blevins that she had
accidentally left the shared Apple iCloud Note they previously set up for their communications
and would need to be reinvited. Mr. Blevins sent her a new invite and Ms. Read rejoined the
Note. Mr. Blevins and Ms. Read continued to talk and message after they saw each other in
Boston.

33. In or around September 2022, Mr. Blevins and Ms. Read discussed Ms. Read’s
upcoming trip to Maryland in or around October 2022. Mr. Blevins told Ms. Read that he could
see her on Monday, Wednesday, and Friday evenings during Ms. Read’s one week trip.

34. On or about October 17, 2022, Mr. Blevins and Ms. Read met after work when

Mr. Blevins took Ms, Read to Roasthouse Pub in Frederick, Maryland, for dinner. Following
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dinner, the two returned to Ms. Read’s hotel room where the two engaged in conversation and
kissing.

35, On or about October 18, 2022, Mr. Blevins and Ms. Read engaged in numerous
calls to one another.

36, On or about October 19, 2022, Mr. Blevins took the afternoon off to spend time
with Ms. Read. They first drove to Atlantic Grille in Frederick where they had a beer before
driving to Mangia e Bevi Ristorante Italiano for dinner. While dining, the two ran into a client.
Mr. Blevins introduced him to Ms. Read as a MainSpring Virtual Chief Information Officer and
he introduced the two of them to his wife. The four individuals chatted for approximately ten
minutes before the client and his wife left the restaurant.

37. After dinner, Mr. Blevins and Ms. Read returned to her hotel room where they
discussed how much they enjoyed each other’s company. After conversing, the two engaged in
consensual sexual relations.

38. On or about October 20, 2022, Mr. Blevins and Ms. Read messaged one another
discussing how both enjoyed spending time with one another the previous evening.

39, On or about October 21, 2022, at approximately 8:00 a.m., Mr. Blevins met with
Ms. Read in her hotel room where they talked and kissed before they drove to the office in
separate vehicles.

40. In or around the afternoon of October 21, 2022, Mr. Blevins, Ms. Read, and other
co-workers from MainSpring went to Champion Billiards Sports Bar for drinks and to play pool.
Mr. Blevins and Ms. Read had plans to be together later that evening after Mr. Blevins had to

attend his son’s soccer match at approximately 7:00 p.m.
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41. After leaving Champion Billiards Sports Bar, Mr. Blevins’ and Ms. Read’s
colleague, Cleon Lenhardt called Mr. Blevins stating that he noticed a closeness between Ms.
Read and Mr. Blevins at the bar. Mr. Blevins acknowledged his suspicion and Mr. Lenhardt
responded saying he saw that coming a mile away.

42. After his son’s soccer match, Mr. Blevins called Ms. Read to inform her that he
was on his way back to pick her up. They discussed their plans for the evening and Mr. Blevins
told Ms. Read about his conversation with Mr. Lenhardt earlier in the evening.

43, At approximately 9:00 p.m., Mr. Blevins picked up Ms. Read and they drove to
Firestone’s Culinary Tavern in Frederick. The two had drinks and shared appetizers before
deciding to return to Ms. Read’s hotel room. As they walked back to Mr. Blevin’s vehicle, Mr.
Blevins stopped in the office to retrieve two water bottles. Ms. Read waited in the hallway
because of the surveillance cameras in the office. Back at the hotel, the two engaged in
consensual sexual intercourse for the final time.

44. On or about October 22, 2022, Mr. Blevins met with Ms. Read for lunch at Cinco
de Mayo Mexican Restaurant and Bar in Urbana, Maryland. The two conversed on how much
they enjoyed the time they spent together and the difficulty of not seeing each other for a few
months. They then left the restaurant and said their goodbyes in the parking lot. Ms. Read
returned to New Hampshire later that day.

45. In the following months, Mr. Blevins and Ms. Read continued their conversations
via phone, text messages, and the Apple iCloud Notes application. They also sent many
photographs to each other, including nude photographs of Ms. Read.

46. In or around October and November, Mr. Blevins and Ms. Read discussed the

possibility of Mr. Blevins travelling to Boston to meet Ms. Read in December. On or about
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November 4, 2022, Mr. Blevins booked a flight to Boston via Jet Blue for December 2, 2022.
On or about November 15, 2022, Ms. Read made a note that the hotel for the December 2, 2022,
trip was booked.

47. On or about November 18, 2022, at approximately 6:30 p.m. Mr. Blevins and Ms.
Read spoke on the phone for nearly two hours discussing the future of their relationship and the
possibility of relocation so they could be together. Ms. Read asked if Mr. Blevins would
consider relocating to New Hampshire, in which he stated he could not. The conversation then
shifted to Ms. Read moving to Maryland. Ms. Read was terrified of her fiancé finding out about
their relationship before they had a plan in place because the house they lived in was solely in his
name, and he could evict her and her son at any time.

48. On or about November 26, 2022, Mr. Blevins and Ms. Read introduced Mr.
Blevins’ son and Ms. Read’s son to each other to see if they would get along while playing the
video game Fortnite together. Mr. Blevins and Ms. Read exchanged several text messages
noting how well the boys got along.

49, On or about November 28, 2022, Mr. Blevins sent a URL link in a private chat to
Ms. Read with a countdown to their upcoming getaway. Ms. Read responded by hearting the
message and stating, ‘actually it’s all I’ve [sic] been able to think about today”.

50. On or about December 2, 2022, Ms. Read shared a note with Mr. Blevins stating,
“Good morning! I can’t wait to see you!”

51. At approximately 2:15 p.m., on or about December 2, 2022, Mr. Blevins travelled
to Boston where Ms. Read picked him up from the airport. While driving to a hotel, Ms. Read

grabbed Mr. Blevins’ hand, and expressed concern about her fiancé catching them and was
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unsure whether to proceed with the weekend together. The two arrived at the hotel shortly after
and Ms. Read checked in since she booked the room.

52. While in the room, Ms. Read again discussed her fear that her fiancé may catch
them by attempting to call or Facetime Ms. Read to check whether she was with her friend,
Melissa Walsh, as she said she was. This is something Ms. Read had done in the past when she
caught her fiancé cheating. She also expressed concern regarding an upcoming storm and how
that might affect the ferry, which she had to take to return home. If the ferry closed due to the
storm, it would be inevitable that her fiancé would find out that she lied to him. Ultimately, Ms.
Read decided not to stay in Boston with Mr. Blevins.

53. After the decision was made for Ms. Read not to stay, the two discussed the
challenges of their relationship and how it was too hard to continue because Mr. Blevins was not
willing to move to New Hampshire, Ms. Read was not ready to move to Maryland, custody
concerns regarding their children, the continued difficulty in living double lives, and, most
importantly, Ms. Read’s fear of her fiancé finding out and evicting her and her son.

54. Mr. Blevins and Ms. Read made a mutual decision to end the relationship and to
go back to just “being friends”.

55. Mr. Blevins changed his return flight, and two hours later, Mr. Blevins took a
plane back to the District of Columbia to return home.

56. On or about December 5, 2022, Mr. Blevins received an email from Microsoft
OneDrive with the subject line “Your memories from this day”, which included pictures sent by
Ms. Read to Mr. Blevins for him to edit. Mr. Blevins shared this memory with Ms. Read in a

text message to her.

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57. On or about December 6, 2022, the two shared friendly messages regarding work
and Christmas decorations.

58. On or about December 7, 2022, Mr. Blevins sent a text message to Ms. Read
informing her that Mr. Lenhardt did indeed know about their relationship, and Mr. Blevins told
her to forget about it. Ms. Read responded by accusing Mr. Blevins of creating an
uncomfortable work environment.

59. Mr. Blevins was very concerned about Ms. Read’s accusation and decided to
bring the issue to MainSpring’s attention. On or about December 9, 2023, Mr. Blevins spoke to
Tom Keller, President and Chief Operating Offer at MainSpring, and told him about his
relationship with Ms. Read and her accusation. Mr. Keller advised that Mr. Blevins should also
speak with MainSpring’s human resources manager, Theresa Dalton.

60. | Onor about the same day, Ms. Dalton received a video call from Ms. Read
wherein she falsely alleged that a male co-worker sexually assaulted and threatened her and that
she was afraid of losing her job. She stated that her fiancé received threatening text messages
from the co-worker’s wife in the morning and that her fiancé encouraged Ms. Read to file a
complaint against him.

61, Approximately ten minutes later, Mr. Blevins placed a video call with Ms. Dalton
informing her that he and Ms. Read had an affair and that he received messages from Ms. Read
accusing him of harassing her. Mr. Blevins did not know that Ms. Read had contacted Ms.
Dalton prior to their conversation.

62. Later in the afternoon, Mr. Blevins learned from his wife that she had found a
hotel receipt from the hotel in Boston where Mr. Blevins and Ms. Read had been together and

reached out to Ms. Read’s fiancé. She then connected with Ms. Read on Facebook Messenger

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and asked her about Ms. Read’s relationship with Mr. Blevins. During this conversation, Ms.

Read told Mr. Blevins’ wife that she was not in Boston and that she had never been involved

with Mr. Blevins. Ms. Read then alleged that Mr. Blevins had made advancements and

attempted to sexually assault her.

63. On or about November 26, 2022, Ms. Read deleted the shared Apple iCloud Note

which contained most of her private conversations with Mr. Blevins.

64. Upon information and belief, on or about December 12, 2023, Ms. Read filed a

complaint with MainSpring’s Human Resources department. Ms. Read falsely alleged that:

a.

h.

on or about July 22, 2022, Mr. Blevins sexually assaulted her while she
was intoxicated;

on or about August 26, 2022, Mr. Blevins sexually assaulted her in
Boston;

on or about October 17, 2022, Mr. Blevins attempted to sexually assault
her in Frederick, but she was able to fight him off;

on or about October 19, 2022, Mr. Blevins sexually assaulted her in
Frederick while she was intoxicated;

on or about October 22, 2022, Mr. Blevins sexually harassed her in
Frederick;

on or about December 2, 2022, Mr. Blevins sexually harassed her in
Boston;

Mr. Blevins pressured and threatened her to be romantically involved with
him; and

Mr. Blevins attempted to control and intimidate her.

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65. On or about December 14, 2022, Mr. Blevins and Ms. Read were both placed on
paid administrative leave while MainSpring investigated Ms. Read’s allegations.

66. On or about the same day, Human Resources at MainSpring interviewed three
employees who may have had first-hand knowledge of the relationship between Ms. Read and
Mr. Blevins. Two employees expressed concerns regarding Ms. Read’s actions during work
meetings or events, and one employee stated that he noticed Ms. Read look at and follow Mr.
Blevins during a work event.

67. On or about December 14, 2022, Ms. Read called the Rindge Police Department
to inquire about how to obtain a protective order. She was “vague on the topic”, but “very
directly asked [the officer] if there was any way for her to have a co-worker have no contact with
her, without having to ‘press charges’”.

68. On or about December 14, 2022, Ms. Read received a Stalking Temporary Order
of Protection from the New Hampshire Circuit Court stating Mr. Blevins made “ongoing sexual
advancements, intimidations and threats”.

69. Ms. Read falsely alleged that Mr. Blevins “‘pressure[ed] [her] into spending a
weekend with him [in Boston]”. She falsely stated that she told him not to come, but he came
anyway. She falsely stated that he “physically restrained” her and tried to force her onto the bed.
Ms. Read falsely stated that she resisted and was able to get away from Mr. Blevins, but Mr.
Blevins has been threatening her since.

70. Ms. Read falsely reported that Mr. Blevins sent several messages indicating that
Ms. Read intended to be involved with Mr. Blevins. Ms. Read also alleged that a picture of her

house was sent to her by Mr. Blevins to threaten her.

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71. Onor about December 21, 2022, MainSpring finalized its workplace investigation
and found that no evidence was presented that Mr. Blevins had threatened or used his authority
to intimidate or threaten Ms. Read or interfere with her professional development. MainSpring
further found that the abundance of documentation indicated that the relationship between Mr.
Blevins and Ms. Read was consensual.

72. MainSpring placed Mr. Blevins and Ms. Read on unpaid administrative leave
until January 11, 2023, the date of the hearing for the Stalking Temporary Order of Protection in
the New Hampshire Circuit Court against Mr. Blevins.

73. MainSpring further concluded that if the protective order case was dismissed
workplace accommodations would be put in place with a “no contact” requirement for Mr.
Blevins and Ms. Read. The accommodation further required that for a 90-day period Mr.
Blevins could not operate in a manager capacity.

74, On or about January 17, 2023, Ms. Read contacted the Rindge Police Department
advising them that she believed Mr. Blevins violated the order of protection against him by
sending an automated work email to her. The officer requested to see the email and told Ms.
Read that an investigation would have to be conducted. She was unhappy about this answer and
stated that she felt that “no one was taking her seriously” and that Mr. Blevins’ alleged violation
was “a crime”.

75. In or about February of 2023, Ms. Read offered to enter into a civil agreement
with Mr. Blevins wherein she would dismiss her stalking petition against Mr. Blevins and Mr.
Blevins would not contact her.

76. Because Mr. Blevins had no intention of contacting Ms. Read, he agreed and Ms.

Read dismissed her petition on or about February 9, 2023.

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The On or about March 17, 2023, Mr. Blevins resigned from his employment with
MainSpring due to Ms. Read’s false accusations and Ms. Read’s continued employment with
MainSpring after MainSpring determined her accusations to be false.

78. | Onor about March 13, 2023, Ms. Read filed a renewed stalking petition with the
New Hampshire Circuit Court falsely alleging that Mr. Blevins placed numerous anonymous
phone calls to her work phone number from on or about January 30, 2023, to March 10, 2023.

79. As aresult of this second petition, Ms. Read obtained a second Stalking
Temporary Order of Protection from the New Hampshire Circuit Court.

80. On or about March 20, 2023, Ms. Read contacted the Rindge Police Department
again to complain about Mr. Blevins’ actions on the internet and report a violation of the
protective order. The officer and his supervisor investigated Ms. Read’s allegations and found
no violation by Mr. Blevins. The officer reported that Ms. Read seemed unhappy about this
answer.

81. On or about June 30, 2023, after a hearing on Ms. Read’s stalking petition which
included testimony by Ms. Read, the New Hampshire Circuit Court found that Mr. Blevins had
not been stalking Ms. Read and dismissed her case against Mr. Blevins.

82. Due to Ms. Read’s false accusations and the events that transpired as a result of
these accusations, Mr. Blevins has suffered from new onset major depressive episode, post

traumatic stress disorder, and acute stress disorder for which he has been in treatment.
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COUNT I
Defamation

83. Paragraphs | through 82, are incorporated herein by reference as if fully restated.

84, Ms. Read made defamatory statements to Mr. Blevins’ former employer, co-
workers, and other individuals by falsely accusing Mr. Blevins of sexual assault and for creating
an uncomfortable work environment.

85, Ms. Read made these statements against Mr. Blevins after the two agreed to end
their affair. Ms. Read and Mr. Blevins engaged in a consensual relationship and Ms. Read knew
that her allegations of sexual assault were false.

86. Asa direct and proximate result of Ms. Read’s allegations, Mr. Blevins has
sustained injury to his reputation and ability to retain employment with his former employer of
more than 15 years.

87. Furthermore, as a direct and proximate result of Ms. Read’s allegations, Mr.
Blevins suffered damages, including lost wages, attorney’s fees in Maryland and New
Hampshire to defend himself against Ms. Read’s false allegations, public embarrassment and
humiliation, loss of reputation, depression and other psychological injury requiring mental health
treatment, and such other damages as may be proven at trial.

WHEREFORE, Plaintiff, Tony Blevins, hereby prays this Honorable Court enter a
Judgment in his favor and against the Defendant, Jolene Read.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Tony Blevins, respectfully requests judgment as follows:
A, For compensatory damages in excess of $43,518.26 for lost wages, attorney’s fees
to defend himself from these false allegations, loss of reputation, humiliation and

embarrassment and pain and suffering.

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B. For exemplary damages as deemed appropriate;
C, For such other attorneys’ fees, costs, and interest as allowed by law; and
Dz. For such other and additional relief as deemed just and proper.

Dated: November 14, 2023 Respectfully submitted,

/s/ Dennis E. Boyle

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